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   9

  10 Attorneys for Defendants
     HEARST COMMUNICATIONS, INC. and
  11 HEARST MAGAZINE MEDIA, INC.

  12

  13                               UNITED STATES DISTRICT COURT
  14                              CENTRAL DISTRICT OF CALIFORNIA
  15
       GEORGE S. CHEY,                                  CASE NO.
  16

  17                                  Plaintiff,        NOTICE OF REMOVAL OF
                                                        DEFENDANTS HEARST
  18                                                    COMMUNICATIONS, INC. AND
                             v.                         HEARST MAGAZINE MEDIA, INC.
  19                                                    PURSUANT TO 28 U.S.C. SECTION
     SHARON GOURDINE, FIRST                             1332(a)(1)
  20
     CITIZENS BANK, PUBLISHERS                          Action Filed:              June 18, 2021
  21 CLEARING HOUSE, LLC, GOOD                          Action Removed:            July 27, 2021
  22 HOUSEKEEPING MAGAZINE,                             Removed from the Superior Court of the
     HEARST COMMUNICATIONS, DOES                        State of California, County of Los
  23 1-100,                                             Angeles, Case No. 21STCV22828
  24
                                      Defendants.
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                                                                NOTICE OF REMOVAL OF DEFENDANTS HEARST
                                                    1    COMMUNICATIONS, INC. AND HEARST MAGAZINE MEDIA,
                                                                   INC. PURSUANT TO U.S.C. SECTION 1332(a)(1)
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   1                                             NOTICE OF REMOVAL
   2   TO THE CLERK OF THE ABOVE-ENTITLED COURT:
   3                         PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §1332(a)(1), 1441, and
   4   1446, Defendants Hearst Communications, Inc. (erroneously sued as “Hearst
   5   Communications,” a nonexistent entity) and Hearst Magazine Media, Inc.
   6   (publisher of Good Housekeeping magazine, erroneously sued as “Good
   7   Housekeeping Magazine,” a nonexistent entity) (collectively, the “Hearst
   8   Defendants”) hereby remove the above-captioned action from the Superior Court
   9   of California, County of Los Angeles, to the United States District Court for the
  10   Southern District of California.
  11                         1.   On June 18, 2021, plaintiff George S. Chey (“Plaintiff”) commenced
  12   this action in the Superior Court of the State of California, County of Los Angeles,
  13   Case No. 21STCV22828 (“State Court Action”).
  14                         2.   As more fully set forth below, this is a civil action over which this
  15   Court has original jurisdiction pursuant to 28 U.S.C. § 1332(a)(1), and this action
  16   is removable pursuant to 28 U.S.C. § 1441, because it is a civil action between
  17   citizens of different states in which the amount in controversy exceeds $75,000,
  18   exclusive of interest and costs.
  19                         3.   On June 28, 2021, a copy of the Summons and Complaint in this
  20   action addressed to “Hearst Communications” (a nonexistent entity) was delivered
  21   to CT Corporation System, 67 Burnside Ave, East Hartford, CT 06108. Pursuant
  22   to 28 U.S.C. § 1446(a), a copy of Plaintiff’s Summons and Complaint filed in the
  23   State Court Action is attached hereto as Exhibit A.
  24                         4.   In this case, diversity of citizenship exists between Plaintiff and
  25   Defendants:
  26                              a.    According to the Complaint (Paragraph 1), Plaintiff is a
  27                                    resident of California.
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                                                                             NOTICE OF REMOVALOF DEFENDANTS HEARST
                                                                  2   COMMUNICATIONS, INC. AND HEARST MAGAZINE MEDIA,
                                                                               INC. PURSUANT TO U.S.C. SECTION 1332(a)(1)
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   1                              b.    Pursuant to 28 U.S.C. § 1332(c)(1), a corporation shall be
   2                                    deemed to be a citizen of any state where it has been
   3                                    incorporated and of the state where it has its principal place of
   4                                    business. The Hearst Defendants are each corporations
   5                                    incorporated in Delaware, and the principal place of business of
   6                                    each is in New York.
   7                              c.    According to Paragraph 22 of the Complaint and the Proof of
   8                                    Personal Service filed by Plaintiff in the State Court Action (a
   9                                    copy of which is attached hereto as Exhibit B), defendant
  10                                    Sharon Gourdine is a resident of South Carolina.
  11                              d.    According to its filings with the California Secretary of State
  12                                    (copies of which are attached hereto as Exhibit C), defendant
  13                                    First Citizens Bank & Trust Company (which appears to have
  14                                    been erroneously sued in this action as “First Citizens Bank”) is
  15                                    a corporation incorporated in North Carolina with its principal
  16                                    place of business in North Carolina.
  17                              e.    According to its filings with the California Secretary of State (a
  18                                    copy of which is attached hereto as Exhibit D), defendant
  19                                    Publishers Clearing House, LLC (“PCH”) is a New York
  20                                    limited liability company with its members and principal place
  21                                    of business located in New York.
  22                         5.   The matter in controversy in Plaintiff’s Complaint exceeds the sum or
  23   value of $75,000, exclusive of interest and costs. Although Plaintiff does not
  24   specify the amount he seeks in the Complaint, Plaintiff alleges sixteen causes of
  25   action: (1) Fraud and Deceit, (2) “Wrongful Conversion / Mail Fraud” (3)
  26   Negligent Infliction of Emotional Distress, (4) Intentional Infliction of Emotional
  27   Distress, (5) Intentional Misrepresentation, (6) Negligent Misrepresentation, (7)
  28   Breach of Implied Covenant of Good Faith and Fair Dealing, (8) Promissory
                                                                          NOTICE OF REMOVALOF DEFENDANTS HEARST
                                                               3   COMMUNICATIONS, INC. AND HEARST MAGAZINE MEDIA,
                                                                            INC. PURSUANT TO U.S.C. SECTION 1332(a)(1)
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   1   Fraud, (9) Breach of Implied Contract, (10) Civil Conspiracy, (11) Unfair
   2   Competition, (12) “Declaratory Relief,” (13) Unjust Enrichment, (14) “Preliminary
   3   and Permanent Injunction,” (15) “Violation of the RICO Statute,” and (16) “Writ
   4   of Attachment.” In the Complaint, Plaintiff seeks compensatory damages “in far
   5   excess of the [$25,000] jurisdictional minimum” and “punitive and exemplary
   6   damages” (Complaint ¶ 58 & “Damages” Section at page 37). Further, in an email
   7   dated July 22, 2021, Plaintiff’s counsel informed in-house counsel for the Hearst
   8   Defendants that Plaintiff is seeking $10 million against the Hearst Defendants in
   9   this action.
  10                         6.   In accordance with 28 U.S.C. § 1446(b), this Notice of Removal has
  11   been filed within 30 days after the Hearst Defendants received a copy of Plaintiff’s
  12   Summons and Complaint from CT Corporation System.
  13                         7.   Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal is
  14   being served on Plaintiff and the other named defendants in this action and a copy
  15   is being filed with the Clerk of the Superior Court of the State of California,
  16   County of Los Angeles.
  17                         8.   In sum, this case should be removed to the United States District
  18   Court for the Central District of California pursuant to 28 U.S.C. §1332 and 1441,
  19   because: (1) Plaintiff is a citizen of California; (2) the Hearst Defendants and other
  20   named defendants in this action are not citizens of California; and (3) the amount
  21   in controversy exceeds $75,000, exclusive of interest and costs.
  22   ///
  23   ///
  24   ///
  25   ///
  26   ///
  27   ///
  28   ///
                                                                          NOTICE OF REMOVALOF DEFENDANTS HEARST
                                                               4   COMMUNICATIONS, INC. AND HEARST MAGAZINE MEDIA,
                                                                            INC. PURSUANT TO U.S.C. SECTION 1332(a)(1)
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   1                         WHEREFORE, the Hearst Defendant respectfully remove this action to the
   2   United States District Court for the Central District of California for further
   3   proceedings pursuant to this Notice.
   4   Dated: July 27, 2021                                  Respectfully Submitted,
   5
                                                             DAVIS WRIGHT TREMAINE LLP
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   7
                                                             By: /s/ Selina MacLaren
                                                                  Thomas R. Burke
   8                                                              Selina MacLaren
   9
                                                             Attorneys for Defendants Hearst
  10                                                         Communications, Inc. and Hearst
                                                             Magazine Media, Inc.
  11 Of Counsel:
        Eva M. Saketkoo
  12    Office of General Counsel
        Hearst Corporation
  13    300 West 57th Street, 40th Floor
        New York, NY 10019
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                                                                         NOTICE OF REMOVALOF DEFENDANTS HEARST
                                                              5   COMMUNICATIONS, INC. AND HEARST MAGAZINE MEDIA,
                                                                           INC. PURSUANT TO U.S.C. SECTION 1332(a)(1)
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   1                                    CERTIFICATE OF SERVICE
   2
           I certify that on July 27, 2021 I caused paper copies of this document to be
   3 mailed to Plaintiff’s counsel at the following address and a courtesy copy to be
     emailed to counsel at lawfirmofconsumerjustice@activist.com:
   4
                             Timothy A. Chey, Esq.
   5                         1055 West 7th Street, 33rd Floor
                             Los Angeles, CA 90017
   6

   7        I further certify that on July 27, 2021 I caused paper copies of this document
     to be mailed to the defendants in this action at the addresses noted in the proof of
   8 service forms for each of these defendants filed by Plaintiff’s counsel in the state
     court action from which this action was removed:
   9
                             Sharon Gourdine
  10                         6 Christine Court
                             Greenville, SC 29605
  11
                             First Citizens Bank
  12                         c/o CT Corporation System
                             160 Mine Lake Court, Ste 200
  13                         Raleigh, NC 27615
  14                         Publishers Clearing House LLC
                             c/o Registered Agent
  15                         67 Burnside Avenue
                             East Hartford, CT 06108
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  17
                                                     /s/ Ellen Duncan____________
  18                                                 Ellen Duncan
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                                                                       NOTICE OF REMOVALOF DEFENDANTS HEARST
                                                         6      COMMUNICATIONS, INC. AND HEARST MAGAZINE MEDIA,
                                                                         INC. PURSUANT TO U.S.C. SECTION 1332(a)(1)
       4850-4543-4355v.1 -
